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 In the United States District Court for the
 Eastern District of New York
 -------------------------------------------------------------x
 CAPITOL 7 FUNDING,
                                                                  DECLARATION IN
                                 Plaintiffs,                      SUPPORT OF
                                                                  DEFENDANT’S
                                                                  MOTION TO SET
                                                                  ASIDE DEFAULT
                 v.
                                                                  Civil Action No.
                                                                  17-cv-2374(RRM)(ST)

 WINGFIELD CAPITAL
 CORPORATION, ET. AL.

                                  Defendants.
 -------------------------------------------------------------x

         STEVEN A. METCALF II declares, pursuant to 28 U.S.C. 1746, under the

 penalty of perjury, that the following is true and correct:

         1.      I am partner at Metcalf & Metcalf, P.C., the attorneys of record for

 Defendants Wingfield Capital Corporation (hereafter referred to as “Wingfield”), and

 individual Defendants Burgis Sethna and Heath Wagenheim (hereafter collectively

 referred to as “Defendants Sethna” or “Defendants”).

         2.       As such, I am fully familiar with the files, materials, facts and

 information that my Firm maintains regarding this litigation and through those files

 and materials with the facts set forth herein.

         3.      This Declaration is submitted in support of the relief requested in the


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 annexed Notice of Motion.

       4.     Annexed as Exhibit “A” is a true and correct copy of Plaintiff’s counsel

 Request for Certificate of Default on July 20, 2020 (ECF# 84) against Defendant

 Health Wagenheim. Along with the request, the Plaintiff filed a Declaration in

 Support of Request for Certificate of Default (ECF# 84-1) and the Affidavit of

 Process Server that was filed (ECF# 84-2).

       5.      Annexed as Exhibit “B” is a true and correct copy of Request for

 Certificate of Default on July 20, 2020 (ECF# 85) against Defendant Sethna. Along

 with the request, the Plaintiff filed a Declaration in Support of Request for Certificate

 of Default (ECF# 85-1) and the Affidavit of Process Server that was filed (ECF# 85-

 2).

       6.     Annexed as Exhibit “C” is a true and correct copy of the Clerk’s entry

 of default against Defendant Health Wagenheim on July 27, 2020 (ECF #90), and the

 clerk’s entry of Default against defendant Wingfield Capital Corporation. Along with

 the clerk’s entry, Plaintiff filed a Declaration in Support of Request for Certificate of

 Default (ECF# 88-1). Lastly, Exhibit C encompasses the Affidavit of Service that

 was filed (ECF# 88-2).

       7.     Annexed as Exhibit “D” is a true and correct copy of entered default

 against Defendant on July 27, 2020 (ECF #90). without any submission or opposition

 from the defendant Wingfield, the Court entered default against Defendant on July

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 27, 2020 (ECF #90).

       8.     Annexed as Exhibit “E” is a true and correct copy Defendant’s

 Amended Answer to Plaintiff’s Second Amended Complaint.



 Dated:      January 4, 2021               Yours, etc.,
             New York, New York
                                          Steven A. Metcalf
                                          __________________
                                          Steven A. Metcalf II
                                          Counsel for Defendant Sethna, Wagenheim
                                          and Wingfield Capital Corp.
                                          99 Park Avenue, Suite 2501
                                          New York, NY 10016
                                          646-253-0514


 To:   Nicholas Bowers, Esq.
       Gary Tsirelman P.C.
       Attorneys for Plaintiff
       129 Livingston St.
       Brooklyn NY 11201
       Email: nbowers@gtmdjd.com




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